
Delta Diagnostic Radiology, P.C. as Assignee of SANTIGIE TURAY, Appellant, 
against21st Century Insurance Company, Respondent.



Appeal from an order of the Civil Court of the City of New York, Queens County (Cheree A. Buggs, J.), entered January 9, 2014. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is reversed, with $30 costs, and defendant's motion for summary judgment dismissing the complaint is denied. 
For the reasons stated in Tam Med. Supply Corp. as Assignee of Cabrouet Sauveur v 21st Century Ins. Co. ( Misc 3d , 2015 NY Slip Op  [appeal No. 2014-385 Q C], decided herewith), the order is reversed and defendant's motion for summary judgment dismissing the complaint is denied.
Pesce, P.J., Weston and Aliotta, JJ., concur.
Decision Date: March 23, 2016










